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                                                       EXHIBIT B
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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

________________________
DAVID RYAN, ET ALS,

                 Plaintiffs                        Case No. 1:09-cv-10653
      v.

SEARS, ROEBUCK and CO. and
ACME ELECTRIC CORPORATION

                 Defendants.
____________________________________




                 PLAINTIFFS’ NOTICE OF TAKING DEPOSITION
                OF DEFENDANT, ACME ELECTRIC CORPORATION,
                       PURSUANT TO FRCP RULE 30(b)(b)


To:        Alexandra B. Harvey, Esq.
           Adler, Cohen, Harvey, Wakeman and Guekguezian
           75 Federal Street
           Boston, MA 02110

           PLEASE TAKE NOTICE that at 11 a.m. on Friday, May 22, 2009, at Finnerty
Law Offices, 920 Main Street, Second Floor, Osterville, Massachusetts, the plaintiffs by
their attorney will take the deposition upon oral examination of the person or persons
designated by the defendant, Acme Electric Corporation (hereinafter “Acme”) pursuant
to Rule 30(b)(6) of the Federal Rules to Civil Procedure as most knowledgeable to
testify on the matters set forth in the attached Schedule A. The deponent is further
required to bring to the deposition all documents specified in the attached Schedule B,
which were originally requested more than thirty days in advance of the deposition date
in a Request for Production of Documents. Said deposition will be taken before a Notary
Public or another person authorized to administer oats in the Commonwealth of
Massachusetts.
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Plaintiffs,

By their Attorney,


________________________
John F. Finnerty, Jr.
BBO #166540
Finnerty Law Offices
901 Main Street, 2nd Floor
Osterville, MA 02655
Telephone: 508-428-1234
Fax: 508-428-0660


                           CERTIFICATE OF SERVICE

I hereby certify that a true copy of the within document was served upon Alexandra D.
Harvey for all parties by mail on May ____, 2009.


                             ________________________
                                 John F. Finnerty, Jr.
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                                SCHEDULE A

1.    The design, manufacture, distribution, marketing, and sale of the “SEARS
      10/2 amp 12 Volt Automatic Battery Charger” bearing model/serial numbers
      608.71857 and A-128299 depicted in the photographs attached hereto as
      Exhibits A and B (hereinafter “the subject battery charger”).

2.    The significance of the following numbers and words appearing on white
      stickers on the bottom of the subject battery charger:

      a. “E1A-413
          8196”

      b. “FINAL TESTED
         413”

3.    Any agreements or contracts between Acme and a third party pursuant to
      which the subject battery charger was manufactured.

4.    Any and all testing of the subject battery charger model by Acme or on its
      behalf at any time.

5.    Any and all changes in the design of the subject battery charger model during
      the period of time it was manufactured by Acme including the date of each
      such change, the reasons for adopting each such change, and whether the
      subject battery charger model was previously or subsequently sold under any
      different model number and/or serial number.

6.    The inclusive dates of Acme’s manufacture of the subject battery charger
      model including the number distributed and sold during each year.

7.    a) Acme’s decision to manufacture and sell the subject battery charger
         model;

      b) Acme’s decision to cease manufacture and sale of the subject battery
         charger model.

8.    The existence of technology not incorporated into said battery charger model
      that would have made it less likely to emit sparks during use.

9.    The existence of other battery chargers available for sale on the market at the
      time Acme was manufacturing the subject battery charger model that were
      less likely to emit sparks during use.

10.   Any and all safety features incorporated into the design of the subject battery
      charger model.

11.   Any and all safety features not incorporated into the design of the subject
      battery charger model.
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12.   Acme’s manufacture of a battery charger model incorporating a spark
      protection system.

13.   Any and all patents under which Acme has manufactured a battery charger
      model incorporating a spark protection system.

14.   The reasons Acme decided to cease manufacturing the subject battery charger
      model.

15.   a) The battery charger model that replaced the subject battery charger model
         in Sears’ product line;

      b) The date of said replacement;

      c) The reasons for said replacement.

16.   Any and all recalls of battery chargers manufactured by Acme at any time
      specifically including all reasons for each such recall, the model numbers
      involved in each such recall, and the number of batteries involved in each
      such recall.

17.   Any and all consumer complaints and/or claims received by Acme prior to
      November 13, 2006 in connection with fires and/or explosions allegedly
      caused by battery chargers manufactured by Acme specifically including but
      not limited to complaints relative to the subject battery charger model.

18.   Any and all safety improvements to the design of the subject battery charger
      model subsequent to its initial manufacture by Acme specifically including
      but not limited to improvements for spark protection.

19.   The cost to Acme of each component part of the subject battery charger model
      specifically including but not limited to the metal clips used to attach the
      charger to the battery posts.

20.   The design of said battery charger clips.

21.   The manufacture of said battery charger clips.

22.   The materials out of which said battery charger clips were manufactured.

23.   a) The owners’ manual, instruction manual, and any other instruction or
         warning documentation or labeling accompanying the subject battery
         charger model at the time of distribution and/or sale;

      b) Any and all revisions to said documentation at any time.

24.   The advertising of the subject battery charger model specifically including but
      not limited to print advertising and internet advertising.
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25.   Documents referencing features of the subject battery charger model
      specifically including reports, correspondence, memoranda, notices, intra-
      company communications, emails, warnings, and safety recommendations.

26.   Hazards and/or risks in the use of the subject battery charger model,
      specifically including reports, correspondence, memoranda, notices, intra-
      company communications, emails, warnings, alerts, and recalls.

27.   Advertising copy used in print advertising and/or internet advertising prior to
      November 12, 2006 in connection with the defendant’s marketing and/or
      promotion of battery chargers incorporating a spark protection system.

28.   Advertising copy used in print advertising and/or internet advertising on and
      after November 12, 2006 in connection with the defendant’s marketing and/or
      promotion of battery chargers incorporating a spark protection system.

29.   Any and all warranties in connection with the subject battery charger.

30.   Acme’s quality assurance procedures, protocols, and standards relating to the
      subject battery charger model.

31.   The expected uses of the subject battery charger model.

32.   The expected useful life of the subject battery charger model.

33.   Complaints or allegations by anyone at any time that the subject battery
      charger model caused a fire.

34.   Complaints or allegations by anyone at any time that any other battery charger
      model sold by the defendant caused a fire.

35.   Any testing or hazard analysis conducted to determine the propensity of the
      subject battery charger model to emit sparks.

36.   Any testing or hazard analysis conducted to determine the propensity of any
      other battery charger sold by Sears to emit sparks.

37.   Any testing or hazard analysis conducted to determine the propensity of the
      subject battery charger that caused fires.

38.   Any testing or hazard analysis to determine the propensity of any other battery
      charger sold by Sears to emit sparks.

39.   All insurance policies including excess limits policies providing coverage to
      Sears for the plaintiffs’ claims in this case.
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                                  SCHEDULE B

1.    All documents in connection with the battery charger which the plaintiff
      claims caused his injuries, to wit, the battery charger bearing model/serial
      numbers 608.718571 and A-128299 appearing in the photographs attached
      hereto as Exhibits A and B (hereinafter “the subject battery charger”)
      specifically including but not limited to the following:

      a. All documents in connections with its design;
      b. All documents in connection with its specifications and manufacture;
      c. All documents in connection with its marketing including print and
         internet advertisements;
      d. All documents in connection with its distribution;
      e. All documents in connection with its sale specifically including invoices
         and bills of sale;
      f. All documents in connection with instructions as to its use including
         instruction manuals and owner’s manuals;
      g. All documents in connection with warnings as to its use;
      h. All documents in connection with its warranties;
      i. All documents in connection with any patents under which it was
         manufactured including patent applications, grants of patents, and
         correspondence with government agencies;
      j. All documents in connection with its testing.
2.    All agreements and/or contracts between the defendant and any third parties
      with respect to the design or manufacture of the subject battery charger model.

3.    All photographs of the subject battery charger model specifically including
      but not limited to photographs used in print and/or internet advertising.

4.    All advertising copy in connection with the subject battery charger model
      used in print advertising and/or internet advertising.

5.    All documents referencing features of the subject battery charger model
      specifically including reports, correspondence, memoranda, notices, intra-
      company communications, emails, warnings, and safety recommendations.

6.    All documents in connection with hazards and/or risks in the use of the
      subject battery charger model specifically including reports, correspondence,
      memoranda, notices, intra-company communications, emails, warnings, alerts,
      and recalls.
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7.    All documents in connection with changes in the design of the subject battery
      charger model after its initial sale to the general public so as to incorporate
      any safety features not present in the subject battery charger unit involved in
      the plaintiff’s accident specifically including correspondence, memoranda,
      reports, warnings, notices, intra-company communications, emails, patent
      applications, grants of patents, and correspondence with government agencies.

8.    All documents in connection with the defendant’s first distribution and sale of
      any battery charger model incorporating a spark protection system specifically
      including correspondence, memoranda, reports, emails, intra-company
      communications with respect to the design, manufacture, distribution, sale,
      and/or safety of such battery chargers, patent applications, and grants of
      patents, and correspondence with government agencies.

9.    All documents in connection with the defendant’s distribution and sale of
      subsequent battery charger models incorporating a spark protection system
      specifically including correspondence, memoranda, reports, emails, and intra-
      company communications, patent applications, grants of patents, and
      correspondence with government agencies.

10.    All advertising copy used in print advertising and/or internet advertising prior
      to November 13, 2006 in connection with the defendant’s marketing and/or
      promotion of battery chargers incorporating a spark protection system.

11.    All documents in connection with the defendant’s decision to cease
      distributing and selling the subject battery charger model specifically
      including reports, correspondence, memoranda, notices, emails, and intra-
      company communications.

12.   All documents in connection with recalls of the subject battery charger model
      including reports, correspondence, memoranda, intra-company
      communications, emails, alerts, and notices of recall.

13.   All documents in connection with the recall of any other of the defendant’s
      battery charger models specifically including but not limited to Sears DIE
      HARD battery charger bearing model number 200.71310 manufactured
      between January 1996 and February 1997 including reports, correspondence,
      memoranda, intra-company communications, emails, alerts, and notices of
      recall.

14.   All documents including correspondence, memoranda, intra-company
      communications, emails, and reports in connection with complaints to and/or
      claims made against the defendant arising out of personal injuries or property
      damage allegedly caused by the subject battery charger model as a result of
      explosions or fires specifically including but not limited to complaint letters,
      the defendant’s responses, copies of court pleadings, written discovery, and
      deposition transcripts.
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15.    All documents including correspondence, memoranda, intra-company
      communications, emails, and reports in connection with complaints to and/or
      claims made against the defendant arising out of personal injuries or property
      damage allegedly caused by any of the defendant’s other battery charger
      models as a result of explosions or fires specifically including but not limited
      to complaint letters, the defendant’s responses, copies of court pleadings,
      written discovery, and deposition transcripts.

16.    The declarations pages of all insurance policies or agreements, including
      excess limits policies, providing coverage to the defendant for the plaintiffs’
      claims in this case.
